   
                               
          Case 2:22-cv-08765-RSWL-AFM       Document 11 Filed 12/09/22 Page 1 of 2 Page ID #:62



            1     Christopher J. Renk (pro hac vice to be filed)
                   Chris.Renk@arnoldporter.com
            2     Michael J. Harris (pro hac vice to be filed)
            3      Michael.Harris@arnoldporter.com
                  Arnold & Porter Kaye Scholer LLP
            4     70 West Madison Street, Suite 4200
                  Chicago, IL 60602-4231
            5     Telephone: (312) 583-2300
            6    Michael J. Gershoni (Cal. Bar No. 311192)
                  Michael.Gershoni@arnoldporter.com
            7    Bridgette C. Gershoni (Cal. Bar No. 313806)
                  Bridgette.Gershoni@arnoldporter.com
            8    Arnold & Porter Kaye Scholer LLP
            9    601 Massachusetts Ave., NW
                 Washington, D.C. 20001-3743
          10     Telephone: (202) 942-5000
          11     Attorneys for Plaintiff Nike, Inc.
          12
                                        UNITED STATES DISTRICT COURT
          13
          14                           CENTRAL DISTRICT OF CALIFORNIA

          15
                  NIKE, INC.,                                Case No. 2:22-cv-08765-AS
          16
                                     Plaintiff,              JOINT MOTION BY NIKE, INC. AND
          17
                                                             GNARCOTIC LLC FOR ENTRY OF
                          v.
          18                                                 CONSENT JUDGMENT AND DECREE
                 GNARCOTIC LLC,                              AS TO NIKE’S CLAIMS
          19
          20                         Defendant.
          21
          22
                           Plaintiff Nike, Inc. (“Nike”) and Defendant Gnarcotic LLC (“Gnarcotic”)
          23
                   (collectively, the “Parties”) seek approval and entry of a consent judgment and decree.
          24
                   Specifically, the Parties have now entered into a confidential settlement agreement
          25
                   that calls for final resolution of this action with the Court entering the concurrently
          26
                   filed [Proposed] Consent Judgment and Permanent Injunction, which is incorporated
          27
                   by reference into this motion.
          28
                                                            -1-
                                          JOINT MOTION FOR CONSENT JUDGMENT
   
                               
          Case 2:22-cv-08765-RSWL-AFM       Document 11 Filed 12/09/22 Page 2 of 2 Page ID #:63



            1              Accordingly, Nike and Gnarcotic hereby jointly move for entry of the
            2      concurrently filed [Proposed] Consent Judgment and Permanent Injunction which the
            3      Parties rely upon in support of their motion.
            4
                 Dated: December ___,
                                  9 2022               By: /s/1
            5
            6                                             Christopher J. Renk
            7                                             Michael J. Harris
                                                          ARNOLD & PORTER KAYE SCHOLER LLP
            8                                             70 West Madison Street, Suite 4200
                                                          Chicago, Illinois 60602-4231
            9                                             Telephone: (312) 583-2300

          10                                              Bridgette C. Gershoni
                                                          Michael J. Gershoni
          11                                              ARNOLD & PORTER KAYE SCHOLER LLP
                                                          601 Massachusetts Ave., NW
          12                                              Washington, D.C. 20001
                                                          Telephone: (202) 942-6745
          13
          14                                              Attorneys for Plaintiff Nike, Inc.

          15
                                                    By:     /s/
          16
                                                          Zakari Kurtz
          17                                              Sneaker Law Firm PLLC DBA
                                                          Sneaker & Streetwear Legal Services
          18                                              928 Washington St.
                                                          Baldwin, New York 11510-4823
          19                                              Telephone: (540) 230-2965
          20                                              Attorney for Defendant Gnarcotic LLC
          21
          22
          23
          24
          25
          26
          27
          28
                   1
                    Pursuant to Local Rule 5-4.3.4, the filer attests that all other signatories listed and
                   on whose behalf the filing is submitted, have authorized the filing.
                                                            -2-
                                           JOINT MOTION FOR CONSENT JUDGMENT
